
66 So.3d 1236 (2011)
STATE of Louisiana
v.
Johnny Manuel POLANCO.
No. 11-158.
Court of Appeal of Louisiana, Third Circuit.
June 1, 2011.
James Edward Beal, Louisiana Appellate Project, Jonesboro, LA, for Defendant/AppellantJohnny Manuel Polanco.
Cecil R. Sanner, District Attorney, Cameron, LA, Winfred Thomas Barrett, III, Lake Charles, LA, for Plaintiff/AppelleeState of Louisiana.
Court composed of ULYSSES GENE THIBODEAUX, Chief Judge, JIMMIE C. PETERS, and SHANNON J. GREMILLION, Judges.
THIBODEAUX, Chief Judge.
For the reasons discussed in the consolidated case of State of Louisiana v. Johnny Manuel Polanco, 11-157 (La.App. 3 Cir. 6/1/11), 66 So.3d 643, the judgment of the trial court is affirmed.
AFFIRMED.
